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                                              270                                       CLERKS OFFICE U.S.DISQ X Ur
                                                                                              AT ROANOKE,VA
                                                                                                   FILED

                          IN TIIE UNTED STATES DISTRIG COURT                                     JUN 22 2212
                         FOR TIIE W ESTERN DISTRIG O F VIRGIM A                              JULIA        EY LERK
                                    R OA NO U DIW SIO N                                    BY:
                                                                                                  DE     C
U NI'IE D STATES OF A M ERICA                    )        Crim inalN o.7:97c* 0024-5
                                                 )
V.                                               )        2255 M EM OR AN D UM OPIM O N
                                                 )
OBA YD A H A M FIABED                            )        By: Sam uelG .W ilson
                                                 )        United States D istrictJudge

       On June 7,2012,1 Obayda HanifiAbed, a federalinmate proceeding pro se, tiled this

motion to vacate,setaside,orcorrectsentence,pursuantto 28U.S.C.j2255,claimingthatthe
Supreme Court's decision in United States v.Depierre, 131 S. Ct.2225 (2011),applies
retroactively so asto invalidate a concurrentsentence thiscourtim posed on Abed for conspiring

Ctto distribute cocaine,marijuana,and/orcocaine base.'' The courtfinds thatAbed's j 2255
motion isunauthorized andsuccessiveand,therefore,dismissesitforlack ofjurisdiction.
                                                     1.

        OnM arch 6,1998,ajury intheW esternDistrictofVirginiafoundAbedguiltyofbeinga
m em ber of a crim inal enterprise in violation of the Racketeer Influenced and Corrupt

OrganizationsAct,18 U.S.C.j 1962(d),($(RICO''),conspiring to violateRICO,and ahostof
offenses arising out of his m em bership in the RICO enterprise,including drug traftk king and

using an incendiary destructive device,a ''M olotov Cocktail,'during and in relation to a crim e of

violence (arson).The court sentenced Abed to a total term of 497 months imprisonment,
consisting of 137 m onths on the RICO offenses and a m andatory 360-m onth consecutive

sentence for use ofthe incendiary destructive device to com m itarson. The courtalso im posed a




1Because hedeliveredthe m otion onJune 7, 2012,to prison authoritiesfordelivery to the courtitis deemed filed
on thatdate.
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zlo-m onth concurrentsentence forA bed's drug trafficking conviction.z A bed appealed and the

U nited States Court of A ppeals for the Fourth Circuit aftirm ed. Follow ing the denial of

certioraribytheSupremeCourtoftheUnited States,Abed filed a j2255motion in 2001. See
CivilAction No.7:01cv355. Thiscourtdenied his motion and the CourtofAppealsaftirm ed.

On June 8,2010,Abed tiled a tsm otion for relief in the nature of a w rit of error audita querela

(sic),coram nobis,and/or relieffrom judgment (i.e.from prior j2255 denial) pursuantto
FederalRules ofCivilProcedure Rule 60(b)''which the courtconstrued and dismissed asa
successivej2255motion.lnhisinstantj2255motion,AbedarguesthatinlightofDepierrev.
United States,131S.Ct.2225 (2011),ûsthereisasignificantrisk thathestandsconvicted ofan
act that the 1aw does not m ake crim inal''or that he tûfaces a punishm ent that the 1aw cannot

im pose upon him .''

                                                     H.

       lfa federalinm ate w ishesto challenge the validity ofhis conviction or sentence,he m ust

ordinarilyproceedby tilingamotion tovacate,setasideorcorrectsentence,pursuantto j2255,
inthecourtwherehe wasconvicted. ln re Jones,226 F.3d 328,332 (4th Cir.2000). Oncean
inmate has litigated one j 2255 motion,any second or subsequent j 2255 motion mustbe
dism issed by the districtcourtas successive unlessthe inm ate obtains specific certitication from

the CourtofAppeals to pursue a second j                     See 28 U.S.C.j 2255(1$. The Courtof
Appeals may certify a successive j 2255 motion for consideration by the districtcourtifits
claim s are based on newly discovered evidence or on a Cinew rule of constitutionallaw ''decided

by the Supreme Courtand maderetroactiveto caseson collateralreview. j 2255(19. ln any

2AsthecourtexplainedwhenitrejectedAbed'sfirstj2255motion,thecourtonceagainnotesthattheconcurrent
sentence the courtimposed on thedrug traffkking conviction isim m aterialto histotalsentenceresulting from his
RICO and destructive device convictions.
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event,a successive m otion,unlike an initialm otion raising retroactivity, see United States v.

Thomas,627F.3d534(4thCir.2010),mustbecertitiedbytheCourtofAppeal'sforthedistrict
court to consider it. Because Abed's m otion is successive and Abed has not subm itted any

evidence of having obtained certitication from the Court of Appeals to file a second or

successivej2255motion,thecourtisconstrainedtodismissit.3
                                                  111.

       Forthereasonsstated,thecourtdismissesAbed'sj2255motionbecauseitissuccessive
and unauthorized.

        EN FER : This June 22,2012.


                                                  X ted atesDistrictJudge




3 Petitioner is once again advised of the procedure for obtaining certification from the United States Courtof
AppealsfortheFourthCircuittohavethiscourtreview asuccessivej2255motion. Petitionermustsubmitacopy
ofthe successive j 2255 motion to the CourtofAppeals,along with a motion requesting a three-judgepanel
certitication thatthe districtcourtmay review thesuccessive j 2255 motion. See 28 U.S.C.# 2244 (asamended,
l996).A FourthCircuitform and instructionsforfilingthismotion willbeincludedwith thisnoticeorareavailable
from the Fourth Circuitatthe following address:Oftk eoftheClerk,United StatesCourtofAppealsfortheFourth
Circuit,900 E.M ain St.,Richm ond,VA 23219.

                                                      3
